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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                    Case Number 4:07cr3148-001
                                                      USM Number 21816-047

MICHEL B. YODER
                       Defendant
                                                      JOHN C. VANDERSLICE
                                                      Defendant’s Attorney
___________________________________

                               JUDGMENT IN A CRIMINAL CASE
                     (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count I of the Indictment on 4/24/2008

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:

                                                           Date Offense               Count
          Title, Section & Nature of Offense                Concluded               Number(s)


 21:846 CONSPIRACY TO POSSESS WITH INTENT                   11/13/2007                   I
 TO DISTRIBUTE COCAINE

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Count II of the Indictment is dismissed on the motion of the United States as to this defendant only.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                   Date of Imposition of Sentence:
                                                                                    June 20, 2008

                                                                         s/ Richard G. Kopf
                                                                         United States District Judge

                                                                              June 23, 2008
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                                        IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 40 months.

The Court makes the following recommendations to the Bureau of Prisons:

1.       That the defendant participate in the 500-hour Comprehensive Drug Treatment Program
         or any similar drug treatment program available.

2.       That the defendant be incarcerated in a federal camp-like facility as close to Sheridan, OR
         as possible.

3.       Defendant shall be given credit for time served beginning 11/13/2007.

The defendant is remanded to the custody of the United States Marshal.

                              ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                              _____________________________
                                                                      Signature of Defendant

                                             RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.

                                                        __________________________________
                                                               UNITED STATES WARDEN


                                                    By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                          CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______

                                                        __________________________________
                                                               UNITED STATES WARDEN


                                                    By:__________________________________
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                                     SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 3
years.

The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with standard conditions that have been adopted by this court as well
as with any additional conditions on the attached page.

                              STANDARD CONDITIONS OF SUPERVISION

1.       The defendant shall not leave the judicial district without the permission of the court or
         probation officer;
2.       The defendant shall report to the probation officer and shall submit a truthful and complete
         written report within the first five days of each month;
3.       The defendant shall answer truthfully all inquiries by the probation officer and follow the
         instructions of the probation officer;
4.       The defendant shall support his or her dependents and meet other family responsibilities;
5.       The defendant shall work regularly at a lawful occupation, unless excused by the probation
         officer for schooling, training, or other acceptable reasons;
6.       The defendant shall notify the probation officer at least ten days prior to any change in
         residence or employment;
7.       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
         use, distribute, or administer any controlled substance or any paraphernalia related to any
         controlled substances, except as prescribed by a physician;
8.       The defendant shall not frequent places where controlled substances are illegally sold,
         used, distributed, or administered;
9.       The defendant shall not associate with any persons engaged in criminal activity and shall
         not associate with any person convicted of a felony, unless granted permission to do so by
         the probation officer;
10.      The defendant shall permit a probation officer to visit him or her at any time at home or
         elsewhere and shall permit confiscation of any contraband observed in plain view of the
         probation officer;
11.      The defendant shall notify the probation officer within seventy-two hours of being arrested
         or questioned by a law enforcement officer;
12.      The defendant shall not enter into any agreement to act as an informer or a special agent
         of a law enforcement agency without the permission of the court;
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13.      As directed by the probation officer, the defendant shall notify third parties of risks that may
         be occasioned by the defendant’s criminal record or personal history or characteristics and
         shall permit the probation officer to make such notifications and to confirm the defendant’s
         compliance with such notification requirement.


                              SPECIAL CONDITIONS OF SUPERVISION


1.       The defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant
         to the Public Law 108-405 (Revised DNA Collection Requirements Under the Justice for All Act of
         2004), if such sample was not collected during imprisonment.

2.       Paragraph # 7 of the Standard Conditions of supervision is modified, i.e., instead of merely refraining
         from excessive use of alcohol, the defendant shall not purchase or possess, use, distribute, or
         administer any alcohol, just the same as any other narcotic or controlled substance.

3.       The defendant shall submit his or her person, residence, office, or vehicle to a search conducted by
         a United States Probation Officer at any time; failure to submit to a search may be grounds for
         revocation; the defendant shall warn any other residents that the premises may be subject to
         searches pursuant to this condition.

4.       The defendant shall attend, pay for and successfully complete any diagnostic evaluations, treatment
         or counseling programs, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
         substance abuse, as directed by the probation officer.

5.       The defendant shall provide the probation officer with access to any requested financial information.

6.       Pursuant to 18 U.S.C. § 3583 (d), the defendant shall submit to a drug test within fifteen (15) days
         of release on supervised release and at least two (2) periodic drug tests thereafter to determine
         whether the defendant is using a controlled substance. Further, the defendant shall submit to such
         testing as requested by any probation officer to detect the presence of alcohol or controlled
         substances in the defendant’s body fluids and to determine whether the defendant has used any of
         those substances. Based on the defendant’s ability to pay, the defendant shall pay for the collection
         of urine samples to be tested for the presence of alcohol and/or controlled substances in an amount
         to be determined by the probation officer.

7.       The defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of
         Nebraska between the hours of 8:00 a.m. and 4:30 p.m., 100 Centennial Mall North, 530 U.S.
         Courthouse, Lincoln, Nebraska, (402) 437-5223, within seventy-two (72) hours of release from
         confinement and, thereafter, as directed by the probation officer.
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                               CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

       Total Assessment                          Total Fine                Total Restitution

 $100.00 (Paid, rec. #4-2296)




                                                    FINE

         No fine imposed.

                                              RESTITUTION

         No restitution was ordered.




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
